           Case 2:13-cr-00448-KJD-CWH           Document 73       Filed 09/15/14      Page 1 of 4




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 6                                  UNITED STATES DISTRICT COURT

 7                                         DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                          Plaintiff,                 )
                                                       )
10           v.                                        ) 2:13-CR-448-KJD-(CWH)
                                                       )
11 CARLOS JIMENEZ-MARTINEZ,                            )
                                                       )
12                          Defendant.                 )
13                               PRELIMINARY ORDER OF FORFEITURE

14            This Court finds that on September 9, 2014, defendant CARLOS JIMENEZ-MARTINEZ pled

15 guilty to Counts Two, Three and Five of a Fifteen-Count Criminal Indictment charging him in Count

16 Two with Distribution of a Controlled Substance in violation of Title 21, United States Code, Section

17 841(a)(1) and (b)(1)(C) and in Counts Three and Five with Distribution of a Controlled Substance in

18 violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(B)(viii). Criminal Indictment,

19 ECF No. 10; Change of Plea, ECF No. 64; Plea Agreement, ECF No. __.
                                                                   68

20            This Court finds defendant CARLOS JIMENEZ-MARTINEZ agreed to the forfeiture of the

21 property set forth in the Plea Agreement, the Bill of Particulars, and the Forfeiture Allegations of the

22 Criminal Indictment. Criminal Indictment, ECF No. 10; Bill of Particulars, ECF No. 23; Change of

23 Plea, ECF No. 64; Plea Agreement, ECF No. 68
                                             __.

24            This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2), the United States of America

25 has shown the requisite nexus between property set forth in the Plea Agreement, the Bill of Particulars,

26 . . .
           Case 2:13-cr-00448-KJD-CWH           Document 73        Filed 09/15/14     Page 2 of 4




 1 and the Forfeiture Allegations of the Criminal Indictment and the offenses to which defendant

 2 CARLOS JIMENEZ-MARTINEZ pled guilty.

 3           The following assets are subject to forfeiture pursuant to Title 18, United States Code, Section

 4 924(d)(1), (2)(C), and (3)(B) and Title 28, United States Code, Section 2461(c); Title 21, United States

 5 Code, Section 881(a)(11) and Title 28, United States Code, Section 2461(c); and Title 21, United

 6 States Code, Section 853(a)(1) and (a)(2):

 7                  1. a Glock, Model 19 handgun, bearing serial number BDK808US

 8                  2. a .45 caliber, High Standard Crusader handgun, bearing serial number HS1147315;

 9                  3. a 12 gauge, Armscor shotgun, bearing serial number AP214132;

10                  4. a RomArms, model 332, 7.62 caliber rifle, bearing serial number 10984599;

11                  5. any and all ammunition; and

12                  6. $4,979 in United States Currency

13 (all of which constitutes “property”).

14           This Court finds the United States of America is now entitled to, and should, reduce the

15 aforementioned property to the possession of the United States of America.

16           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the

17 United States of America should seize the aforementioned property.

18           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all right, title, and interest of

19 CARLOS JIMENEZ-MARTINEZ in the aforementioned property is forfeited and is vested in the

20 United States of America and shall be safely held by the United States of America until further order

21 of the Court.

22           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States of America

23 shall publish for at least thirty (30) consecutive days on the official internet government forfeiture

24 website, www.forfeiture.gov, notice of this Order, which shall describe the forfeited property, state the

25 time under the applicable statute when a petition contesting the forfeiture must be filed, and state the

26 . . .

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           Case 2:13-cr-00448-KJD-CWH            Document 73         Filed 09/15/14      Page 3 of 4




 1 name and contact information for the government attorney to be served with the petition, pursuant to

 2 Fed. R. Crim. P. 32.2(b)(6) and Title 21, United States Code, Section 853(n)(2).

 3           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual or entity

 4 who claims an interest in the aforementioned property must file a petition for a hearing to adjudicate

 5 the validity of the petitioner’s alleged interest in the property, which petition shall be signed by the

 6 petitioner under penalty of perjury pursuant to Title 21, United States Code, Section 853(n)(3) and

 7 Title 28, United States Code, Section 1746, and shall set forth the nature and extent of the petitioner’s

 8 right, title, or interest in the forfeited property and any additional facts supporting the petitioner’s

 9 petition and the relief sought.

10           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any, must be filed

11 with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas, Nevada 89101, no later than

12 thirty (30) days after the notice is sent or, if direct notice was not sent, no later than sixty (60) days

13 after the first day of the publication on the official internet government forfeiture site,

14 www.forfeiture.gov.

15           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the petition, if any,

16 shall be served upon the Asset Forfeiture Attorney of the United States Attorney’s Office at the

17 following address at the time of filing:

18                  Michael A. Humphreys
                    Assistant United States Attorney
19                  Daniel D. Hollingsworth
                    Assistant United States Attorney
20                  Lloyd D. George United States Courthouse
                    333 Las Vegas Boulevard South, Suite 5000
21                  Las Vegas, Nevada 89101.
22           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice described herein

23 need not be published in the event a Declaration of Forfeiture is issued by the appropriate agency

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         Case 2:13-cr-00448-KJD-CWH            Document 73       Filed 09/15/14      Page 4 of 4




 1 following publication of notice of seizure and intent to administratively forfeit the above-described

 2 property.

 3          DATED this 12th
                       ___ day of September, 2014.

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                                                 UNITED STATES DISTRICT JUDGE
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